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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------

JOVANI CLARK,

                           Plaintiff,

v.
                                                                    COMPLAINT
MARKETAXESS CORPORATION,
MARKETAXESS HOLDINGS INC.,
MIDTOWN TRACKAGE VENTURES LLC, and
3PL INTEGRATION LLC,

                           Defendants.
-----------------------------------------------------------------

         Plaintiff, by his attorneys CELLINO & BARNES, P.C., as and for his complaint,

respectfully alleges, as follows:

                                        NATURE OF THE ACTION

         1.       Plaintiff’s complaint is rooted in negligence, carelessness, and/or

recklessness.

         2.       Plaintiff is seeking monetary damages for serious and severe personal

injuries that he sustained in a premises incident.

                                                THE PARTIES

         3.       Plaintiff, at all times herein mentioned, was and still is a resident of the

County of Fairfield, State of Connecticut.

         4.       Defendant       MARKETAXESS               CORPORATION,             at    all   times   herein

mentioned, was and still is a foreign business corporation, organized and existing under

Delaware law, authorized to conduct business in the State of New York, having a
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principal place of business at 299 Park Avenue, 10 th Floor, in the City, County, and State

of New York.

      5.       Defendant    MARKETAXESS         CORPORATION,           at    all   times   herein

mentioned, was conducting business in the State of New York.

      6.       At   all    times   herein   mentioned,      defendant          MARKETAXESS

CORPORATION transacted business within the State of New York and/or contracted

anywhere to supply goods or services in the State of New York.

      7.       At   all    times   herein   mentioned,      defendant          MARKETAXESS

CORPORATION committed a tortious act within the State of New York.

      8.       At   all    times   herein   mentioned,      defendant          MARKETAXESS

CORPORATION committed a tortious act without the State of New York, causing injury

to person or property within the State of New York.

      9.       At   all    times   herein   mentioned,      defendant          MARKETAXESS

CORPORATION owned, used, or possessed any real property situated with the State of

New York.

      10.      Defendant MARKETAXESS HOLDINGS INC., at all times herein

mentioned, was and still is a foreign business corporation, organized and existing under

Delaware law, authorized to conduct business in the State of New York, having a

principal place of business at 299 Park Avenue, 10 th Floor, in the City, County, and State

of New York.

      11.      Defendant MARKETAXESS HOLDINGS INC., at all times herein

mentioned, was conducting business in the State of New York.




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       12.    At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. transacted business within the State of New York and/or contracted anywhere to

supply goods or services in the State of New York.

       13.    At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. committed a tortious act within the State of New York.

       14.    At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. committed a tortious act without the State of New York, causing injury to person or

property within the State of New York.

       15.    At all times herein mentioned, defendant MARKETAXESS HOLDINGS

INC. owned, used, or possessed any real property situated with the State of New York.

       16.    Defendant MIDTOWN TRACKAGE VENTURES LLC, at all times herein

mentioned, was and still is a foreign limited liability corporation, organized and existing

under Delaware law, authorized to conduct business in the State of New York, having a

principal place of business at 387 Park Avenue South, 7th Floor, in the City, County, and

State of New York.

       17.    Defendant MIDTOWN TRACKAGE VENTURES LLC, at all times herein

mentioned, was conducting business in the State of New York.

       18.    At all times herein mentioned, defendant MIDTOWN TRACKAGE

VENTURES LLC transacted business within the State of New York and/or contracted

anywhere to supply goods or services in the State of New York.

       19.    At all times herein mentioned, defendant MIDTOWN TRACKAGE

VENTURES LLC committed a tortious act within the State of New York.




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      20.      At all times herein mentioned, defendant MIDTOWN TRACKAGE

VENTURES LLC committed a tortious act without the State of New York, causing injury

to person or property within the State of New York.

      21.      At all times herein mentioned, defendant MIDTOWN TRACKAGE

VENTURES LLC owned, used, or possessed any real property situated with the State

of New York.

      22.      Defendant 3PL INTEGRATION LLC, at all times herein mentioned, was

and still is a foreign business corporation, organized and existing under Massachusetts

law, authorized to conduct business in the State of New York, having a principal place

of business at 900 Route 134, Ste 2-17, S. Dennis, Massachusetts 02660.

      23.      Defendant 3PL INTEGRATION LLC, at all times herein mentioned, was

conducting business in the State of New York.

      24.      At all times herein mentioned, defendant 3PL INTEGRATION LLC

transacted business within the State of New York and/or contracted anywhere to supply

goods or services in the State of New York.

      25.      At all times herein mentioned, defendant 3PL INTEGRATION LLC

committed a tortious act within the State of New York.

      26.      At all times herein mentioned, defendant 3PL INTEGRATION LLC

committed a tortious act without the State of New York, causing injury to person or

property within the State of New York.

      27.      At all times herein mentioned, defendant 3PL INTEGRATION LLC owned,

used, or possessed any real property situated with the State of New York.

                             JURISDICTION AND VENUE




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       28.    The parties are citizens of different states.

       29.    The amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs.

       30.    The foregoing confer this court with original jurisdiction over the subject

matter of this complaint and over parties hereto, pursuant to 28 U.S. Code § 1332.

       31.    Venue is proper and appropriate in the United States District Court Southern

District of New York, pursuant to 28 U.S. Code § 1391(b)(1), because some of the

defendants reside in New York, New York and resided thereat at the time of the subject

incident.

       32.    Venue is proper and appropriate in the United States District Court Southern

District of New York pursuant to 28 U.S. Code § 1391(b)(2) because the premises

incident, which is the subject matter of this action, occurred in New York, New York.

                       FACTUAL BACKGROUND & CAUSE OF ACTION

       33.    On March 29, 2019, defendant MARKETAXESS CORPORATION was the

owner of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

       34.    On March 29, 2019, defendant MARKETAXESS CORPORATION was the

lessor of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

       35.    On March 29, 2019, defendant MARKETAXESS CORPORATION was a

lessee of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.




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      36.      On March 29, 2019, defendant MARKETAXESS CORPORATION

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      37.      On March 29, 2019, defendant MARKETAXESS CORPORATION

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      38.      On March 29, 2019, defendant MARKETAXESS CORPORATION

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      39.      On March 29, 2019, defendant MARKETAXESS CORPORATION

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      40.      On March 29, 2019, defendant MARKETAXESS CORPORATION

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      41.      On   or   before   March   29,   2019,    defendant     MARKETAXESS

CORPORATION designed certain premises located at 299 Park Avenue, in the City,

County, and State of New York.

      42.      On March 29, 2019, defendant MARKETAXESS CORPORATION

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      43.      On March 29, 2019, it was the duty of defendant MARKETAXESS

CORPORATION, by its agents, servants, and/or employees, to keep the premises




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located at 299 Park Avenue, in the City, County, and State of New York in a reasonably

safe condition.

        44.   On     and/or   before   March       29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS HOLDINGS INC. for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

        45.   On     and/or   before   March       29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant MIDTOWN TRACKAGE VENTURES LLC for the provision and performance

of certain work, labor, and/or services, including but not necessarily limited to the

transport of certain electronic equipment located at 299 Park Avenue, in the City,

County, and State of New York.

        46.   On     and/or   before   March       29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

defendant 3PL INTEGRATION LLC for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        47.   On     and/or   before   March       29,   2019,   defendant   MARKETAXESS

CORPORATION entered into a contract and/or agreement (written or oral) with

plaintiff’s employer for the provision and performance of certain work, labor, and/or




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services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

      48.    On    and/or   before   March        29,    2019,   defendant     MARKETAXESS

CORPORATION directed, managed, and/or controlled the provision and performance of

certain work, labor, and/or services located at 299 Park Avenue, in the City, County,

and State of New York.

      49.    On    or    before   March       29,       2019,    defendant     MARKETAXESS

CORPORATION hired individuals and/or entities to provide and perform certain work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      50.    On    or    before   March       29,       2019,    defendant     MARKETAXESS

CORPORATION entered into an agreement and/or contract (written or oral) for it to

provide certain work, labor, and/or services at the premises known as 299 Park Avenue,

in the City, County, and State of New York.

      51.    On March 29, 2019, defendant MARKETAXESS CORPORATION was the

manager for work, labor, and/or services at the premises known as 299 Park Avenue, in

the City, County, and State of New York.

      52.    On March 29, 2019, defendant MARKETAXESS CORPORATION was the

general contractor for certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      53.    On March 29, 2019, defendant MARKETAXESS CORPORATION

performed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      54.    On March 29, 2019, defendant MARKETAXESS CORPORATION

supervised certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      55.    On March 29, 2019, defendant MARKETAXESS CORPORATION directed

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      56.    On March 29, 2019, defendant MARKETAXESS CORPORATION

inspected certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      57.    On March 29, 2019, defendant MARKETAXESS CORPORATION

regulated certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      58.    On March 29, 2019, defendant MARKETAXESS CORPORATION

controlled certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      59.    On March 29, 2019, defendant MARKETAXESS CORPORATION

managed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      60.    On March 29, 2019, defendant MARKETAXESS CORPORATION

maintained certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      61.      On March 29, 2019, defendant MARKETAXESS CORPORATION

provided certain supplies for certain work, labor, and/or services at the premises known

as 299 Park Avenue, In the City, County, and State of New York.

      62.      On March 29, 2019, defendant MARKETAXESS CORPORATION

provided certain tools for certain work, labor, and/or services at the premises known as

299 Park Avenue, In the City, County, and State of New York.

      63.      On March 29, 2019, it was the duty of defendant MARKETAXESS

CORPORATION to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

      64.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

owner of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      65.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

lessor of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      66.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was a

lessee of certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      67.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.




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      68.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      69.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      70.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      71.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      72.      On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. designed certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      73.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      74.      On March 29, 2019, it was the duty of defendant MARKETAXESS

HOLDINGS INC., by its agents, servants, and/or employees, to keep the premises

located at 299 Park Avenue, in the City, County, and State of New York in a reasonably

safe condition.




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        75.    On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        76.    On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant

MIDTOWN TRACKAGE VENTURES LLC for the provision and performance of certain

work, labor, and/or services, including but not necessarily limited to the transport of

certain electronic equipment located at 299 Park Avenue, in the City, County, and State

of New York.

        77.    On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with defendant 3PL

INTEGRATION LLC for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        78.    On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into a contract and/or agreement (written or oral) with plaintiff’s employer

for the provision and performance of certain work, labor, and/or services, including but

not necessarily limited to the transport of certain electronic equipment located at 299

Park Avenue, in the City, County, and State of New York.




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      79.      On and/or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. directed, managed, and/or controlled the provision and performance of certain

work, labor, and/or services located at 299 Park Avenue, in the City, County, and State

of New York.

      80.      On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. hired individuals and/or entities to provide and perform certain work, labor, and/or

services at the premises known as 299 Park Avenue, in the City, County, and State of

New York.

      81.      On or before March 29, 2019, defendant MARKETAXESS HOLDINGS

INC. entered into an agreement and/or contract (written or oral) for it to provide certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      82.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

manager for work, labor, and/or services at the premises known as 299 Park Avenue, in

the City, County, and State of New York.

      83.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. was the

general contractor for certain work, labor, and/or services at the premises known as 299

Park Avenue, in the City, County, and State of New York.

      84.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

performed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      85.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

supervised certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      86.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC. directed

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      87.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

inspected certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      88.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

regulated certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      89.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

controlled certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      90.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

managed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      91.    On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

maintained certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      92.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

provided certain supplies for certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

      93.      On March 29, 2019, defendant MARKETAXESS HOLDINGS INC.

provided certain tools for certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

      94.      On March 29, 2019, it was the duty of defendant MARKETAXESS

HOLDINGS INC. to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

      95.      On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

was the owner of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      96.      On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

was the lessor of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      97.      On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

was a lessee of certain premises located at 299 Park Avenue, in the City, County, and

State of New York.

      98.      On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

maintained certain premises located at 299 Park Avenue, in the City, County, and State

of New York.




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      99.      On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

managed certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      100.     On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

controlled certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      101.     On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

supervised certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      102.     On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

inspected certain premises located at 299 Park Avenue, in the City, County, and State

of New York.

      103.     On or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC designed certain premises located at 299 Park Avenue, in the City,

County, and State of New York.

      104.     On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

operated certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

      105.     On March 29, 2019, it was the duty of defendant MIDTOWN TRACKAGE

VENTURES LLC, by its agents, servants, and/or employees, to keep the premises

located at 299 Park Avenue, in the City, County, and State of New York in a reasonably

safe condition.




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        106.   On and/or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS CORPORATION for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

        107.   On and/or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC entered into a contract and/or agreement (written or oral) with

defendant MARKETAXESS HOLDINGS INC. for the provision and performance of

certain work, labor, and/or services, including but not necessarily limited to the transport

of certain electronic equipment located at 299 Park Avenue, in the City, County, and

State of New York.

        108.   On and/or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC entered into a contract and/or agreement (written or oral) with

defendant 3PL INTEGRATION LLC for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        109.   On and/or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC entered into a contract and/or agreement (written or oral) with

plaintiff’s employer for the provision and performance of certain work, labor, and/or

services, including but not necessarily limited to the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.




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      110.   On and/or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC directed, managed, and/or controlled the provision and performance

of certain work, labor, and/or services located at 299 Park Avenue, in the City, County,

and State of New York.

      111.   On or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC hired individuals and/or entities to provide and perform certain work,

labor, and/or services at the premises known as 299 Park Avenue, in the City, County,

and State of New York.

      112.   On or before March 29, 2019, defendant MIDTOWN TRACKAGE

VENTURES LLC entered into an agreement and/or contract (written or oral) for it to

provide certain work, labor, and/or services at the premises known as 299 Park Avenue,

in the City, County, and State of New York.

      113.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

was the manager for work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      114.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

was the general contractor for certain work, labor, and/or services at the premises

known as 299 Park Avenue, in the City, County, and State of New York.

      115.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

performed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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      116.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

supervised certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      117.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

directed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      118.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

inspected certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      119.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

regulated certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      120.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

controlled certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      121.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

managed certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      122.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

maintained certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.




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        123.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

provided certain supplies for certain work, labor, and/or services at the premises known

as 299 Park Avenue, in the City, County, and State of New York.

        124.   On March 29, 2019, defendant MIDTOWN TRACKAGE VENTURES LLC

provided certain tools for certain work, labor, and/or services at the premises known as

299 Park Avenue, in the City, County, and State of New York.

        125.   On March 29, 2019, it was the duty of defendant MIDTOWN TRACKAGE

VENTURES LLC to provide a reasonably safe place to work for people performing

alteration and other covered work at the site.

        126.   On March 29, 2019, defendant 3PL INTEGRATION LLC managed certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        127.   On March 29, 2019, defendant 3PL INTEGRATION LLC controlled certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        128.   On March 29, 2019, defendant 3PL INTEGRATION LLC supervised

certain premises located at 299 Park Avenue, in the City, County, and State of New

York.

        129.   On March 29, 2019, defendant 3PL INTEGRATION LLC inspected certain

premises located at 299 Park Avenue, in the City, County, and State of New York.

        130.   On or before March 29, 2019, defendant 3PL INTEGRATION LLC

designed certain premises located at 299 Park Avenue, in the City, County, and State of

New York.

        131.   On March 29, 2019, defendant 3PL INTEGRATION LLC operated certain

premises located at 299 Park Avenue, in the City, County, and State of New York.




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        132.   On March 29, 2019, it was the duty of defendant 3PL INTEGRATION LLC,

by its agents, servants, and/or employees, to keep the premises located at 299 Park

Avenue, in the City, County, and State of New York in a reasonably safe condition.

        133.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant

MARKETAXESS CORPORATION for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        134.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral)                 with defendant

MARKETAXESS HOLDINGS INC. for the provision and performance of certain work,

labor, and/or services, including but not necessarily limited to the transport of certain

electronic equipment located at 299 Park Avenue, in the City, County, and State of New

York.

        135.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with defendant MIDTOWN

TRACKAGE VENTURES LLC for the provision and performance of certain work, labor,

and/or services, including but not necessarily limited the transport of certain electronic

equipment located at 299 Park Avenue, in the City, County, and State of New York.

        136.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

entered into a contract and/or agreement (written or oral) with plaintiff’s employer for the

provision and performance of certain work, labor, and/or services, including but not




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necessarily limited to the transport of certain electronic equipment located at 299 Park

Avenue, in the City, County, and State of New York.

      137.   On and/or before March 29, 2019, defendant 3PL INTEGRATION LLC

directed, managed, and/or controlled the provision and performance of certain work,

labor, and/or services located at 299 Park Avenue, in the City, County, and State of

New York.

      138.   On or before March 29, 2019, defendant 3PL INTEGRATION LLC hired

individuals and/or entities to provide and perform certain work, labor, and/or services at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

      139.   On or before March 29, 2019, defendant 3PL INTEGRATION LLC entered

into an agreement and/or contract (written or oral) for it to provide certain work, labor,

and/or services at the premises known as 299 Park Avenue, in the City, County, and

State of New York.

      140.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the manager

for work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      141.   On March 29, 2019, defendant 3PL INTEGRATION LLC was the general

contractor for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

      142.   On March 29, 2019, defendant 3PL INTEGRATION LLC performed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.




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      143.   On March 29, 2019, defendant 3PL INTEGRATION LLC supervised

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.

      144.   On March 29, 2019, defendant 3PL INTEGRATION LLC directed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      145.   On March 29, 2019, defendant 3PL INTEGRATION LLC inspected certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      146.   On March 29, 2019, defendant 3PL INTEGRATION LLC regulated certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      147.   On March 29, 2019, defendant 3PL INTEGRATION LLC controlled certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      148.   On March 29, 2019, defendant 3PL INTEGRATION LLC managed certain

work, labor, and/or services at the premises known as 299 Park Avenue, in the City,

County, and State of New York.

      149.   On March 29, 2019, defendant 3PL INTEGRATION LLC maintained

certain work, labor, and/or services at the premises known as 299 Park Avenue, in the

City, County, and State of New York.




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       150.   On March 29, 2019, defendant 3PL INTEGRATION LLC provided certain

supplies for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

       151.   On March 29, 2019, defendant 3PL INTEGRATION LLC provided certain

tools for certain work, labor, and/or services at the premises known as 299 Park

Avenue, in the City, County, and State of New York.

       152.   On March 29, 2019, it was the duty of defendant 3PL INTEGRATION LLC

to provide a reasonably safe place to work for people performing alteration and other

covered work at the site.

       153.   On March 29, 2019, plaintiff JOVANI CLARKE was lawfully on the

premises known as 299 Park Avenue, in the City, County, and State of New York.

       154.   On March 29, 2019, plaintiff JOVANI CLARKE was paid to work at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

       155.   On March 29, 2019, plaintiff JOVANI CLARKE was in the course of his

employment, doing certain transportation, alteration, and/or other covered work at the

premises known as 299 Park Avenue, in the City, County, and State of New York.

       156.   On March 29, 2019, plaintiff was caused to become seriously injured at

the premises known as 299 Park Avenue, in the City, County, and State of New York.

       157.   On March 29, 2019, plaintiff was caused to become seriously injured due

to dangerous, defective, and hazardous conditions at his work site, including but not

limited to, a lack of appropriate safety devices and protocols.

       158.   Plaintiff sustained a loss in excess of the Basic Economic Loss, as defined

by the New York State Insurance Law.




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       159.   Plaintiff suffered a "serious injury" within the meaning of the Insurance

Law of the State of New York.

       160.   The aforesaid incident and the serious injuries resulting therefrom were

due solely and wholly to the careless and negligent manner in which the defendants

managed, operated, maintained, controlled and supervised the aforesaid premises

and/or the work performed on the aforesaid premises, without the plaintiff in any way

contributing thereto.

       161.   Defendants were negligent, reckless, and careless in violating their duties to

persons lawfully on the aforesaid premises and to plaintiff in particular; in knowingly

causing, permitting, suffering, and/or allowing plaintiff to work in an unsafe work place;

in failing to provide the plaintiff with adequate safety devices and/or the applicable

safeguards which would have prevent the subject accident; and were further negligent in

failing to take suitable precautions for the safety of persons lawfully on the aforesaid

premises.

       162.   Defendants, their agents, servants, and/or employees had actual notice of

the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s incident.

       163.   Defendants, their agents, servants, and/or employees had constructive

notice of the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s

incident.

       164.   Defendants, their agents, servants, and/or employees caused and/or

created the dangerous, defective, and/or hazardous conditions prior to the plaintiff’s

incident.




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        165.   Defendants were further negligent in their recruitment, hiring, retaining,

supervising, and training of defendants’ agents, servants, employees, staff, and

personnel.

        166.   By reason of the foregoing and the negligence of the defendants, plaintiff

JOVANI CLARKE was severely injured, bruised and wounded, suffered, still suffers and

will continue to suffer for some time physical pain and bodily injuries and became sick,

sore, lame and disabled.

        167.   By reason of the foregoing, plaintiff JOVANI CLARKE was compelled to and

did necessarily require medical aid and attention, and did necessarily pay and become

liable therefor for medicines and upon information and belief, plaintiff will necessarily incur

similar expenses.

        168.   By reason of the foregoing, plaintiff JOVANI CLARKE has been unable to

attend his usual occupation and vocation in the manner required.

                     AS AND FOR A SECOND CAUSE OF ACTION

        169.   Plaintiff repeats and reiterates each and every allegation above as if set

forth more fully at length herein.

        170.   Defendants failed to provide plaintiff JOVANI CLARKE with a safe place to

work.

        171.   Defendants failed to provide plaintiff JOVANI CLARKE with proper safety

devices and/or adequate protection.

        172.   Defendants failed to provide plaintiff JOVANI CLARKE with the proper

equipment to complete the work.




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       173.   Defendants, their agents, servants, and/or employees were careless,

reckless, and negligent in failing to provide a safe and proper place for plaintiff JOVANI

CLARKE to work, in violation of the laws and ordinances of the State of New York,

including but not necessarily limited to, as well as other federal, state, and local

statutes, ordinances, and regulations.

       174.   Defendants violated §§ 200, 240, 240(1), 240(2), 240(3), and 241(6) of the

New York Labor Law.

       175.   On March 29, 2019, plaintiff JOVANI CLARKE was in the course of his

employment as a covered worker at the subject premises when he was injured as the

result of a faulty piece of equipment and lack of safety protection.

       176.   Plaintiff JOVANI CLARKE’s injuries were caused solely and wholly as a

result of the defendants’ breach of their non-delegable duty to provide safety devices

and to provide a reasonably safe place to work in accordance with Labor Law §§ 200,

240(1), and 241(6).

       177.   Defendants violated the Occupational Safety and Health Act (OSHA).

       178.   Defendants violated the Industrial Code of the State of New York.

       179.   By reason of the foregoing and the negligence of the defendants, plaintiff

JOVANI CLARKE was severely injured, bruised and wounded and suffered, still suffers

and will continue to suffer for some time, physical pain and bodily injuries and has

become sick, sore, lame and disabled.

       180.   By reason of the foregoing, plaintiff JOVANI CLARKE was compelled to

seek and did necessarily require medical aid, attention, and medication and did




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necessarily expend and become liable thereof and upon information and belief, will

necessarily continue to incur for a substantial period of time such expenses.

       181.   Defendants failed to so alter, construct, renovate, demolish, equip,

arrange, operate, supervise, inspect, manage, and/or conduct the manner and method

of the work being performed at the aforementioned location as set forth above so as to

provide reasonable and adequate protection for life, health, and safety of plaintiff.

       182.   The violations by defendants, their agents, servants, and/or employees,

were substantial factors in causing plaintiff’s injuries.

       183.   As a result of the aforementioned violations of the Labor Law of the State

of New York, plaintiff was seriously injured.

       184.   As a result of the foregoing, defendants are liable to plaintiff for his

injuries.

       185.   As a result of the foregoing, defendants are strictly liable to plaintiff for his

injuries.

       186.   Plaintiff hereby demands a trial by jury in the above-captioned action, of all

issues triable by a jury, pursuant to the Federal Rule of Civil Procedure 38.

       WHEREFORE plaintiff demands judgment against defendants, jointly, severally,

individually, and/or vicariously, on each and every count set forth herein for damages,

costs, interest, counsel fees, as well as all other relief this court deems just and proper.

DATED:        New York, New York
              July 12, 2019

                                                Yours, etc.,
                                                CELLINO & BARNES, P.C.

                                                 /s/ Kathleen E. Beatty, Esq.
                                                 Attorneys for Plaintiff



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                                 420 Lexington Avenue, Suite 2140
                                 New York, New York 10170
                                 (212) 804-7400
                                 kb@cellinoandbarnes.com




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